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                             EXHIBIT 7
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                                                                       Page 1

 1                   UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF INDIANA
 2                      INDIANAPOLIS DIVISION
 3             CIVIL ACTION NO. 1:23-cv-00595-JPH-KMB
 4      K.C., et al.                     )
                                         )
 5               Plaintiffs,             )
                                         )
 6                   -vs-                )
                                         )
 7      THE INDIVIDUAL MEMBERS OF THE    )
        MEDICAL LICENSING BOARD OF       )
 8      INDIANA, in their official       )
        capacities, et al.,              )
 9                                       )
                 Defendants.             )
10
11
                REMOTE DEPOSITION OF JANINE M. FOGEL, MD
12
13
14            The deposition upon oral examination of JANINE
         M. FOGEL, MD, a witness produced and sworn before
15       me, Colleen Brady, Notary Public in and for the
         County of Monroe, State of Indiana, taken on behalf
16       of the Defendants, with the witness located in
         Indiana, on the 17th day of May 2023, at
17       12:39 p.m., pursuant to the Federal Rules of Civil
         Procedure with written notice as to time and place
18       thereof.
19
20
21
22
23
24
25

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                                                                 Page 2                                                                              Page 4
     1            APPEARANCES                                              1             INDEX OF EXHIBITS
     2    (All appearances via videoconference)                            2                           Page
     3 FOR THE PLAINTIFFS:                                                     Deposition Exhibit No :
     4     Kenneth J Falk                                                  3
           ACLU of Indiana                                                     Exhibit 1   - Complaint                    6
                                                                           4
     5     1031 East Washington Street
                                                                               Exhibit 2   - Senate Enrolled Act No 480            9
           Indianapolis, IN 46202
                                                                           5
     6     317 635 4059                                                        Exhibit 3   - Document subpoena                11
           kfalk@aclu-in org                                               6
     7                                                                         Exhibit 4   - Document subpoena attachment              12
     8 FOR THE DEFENDANTS:                                                 7
     9     Thomas M Fisher                                                     Exhibit 5   - Amended deposition subpoena               15
           Office of the Attorney General                                  8
    10     302 West Washington Street                                        Exhibit 6 - Amended deposition subpoena       15
           IGCS 5th Floor                                                  9          30(b)(6) attachment
    11     Indianapolis, IN 46204                                         10 Exhibit 7 - Eskenazi Health's amended       16
           317 232 6255                                                               response
                                                                          11
    12     tom fisher@atg in gov
                                                                             Exhibit 8 - Gender Health Program brochure,    18
    13 FOR THE DEPONENT:
                                                                          12          Eskenazi_000001 and 2
    14     Kimberly C Metzger                                             13 Exhibit 9 - Gender Health Program Plan of     19
           MCCARTER & ENGLISH, LLP                                                    care, Eskenazi_000087 through
    15     880 West Monon Green Boulevard                                 14          91
           Suite 101                                                      15 Exhibit 10 - Informed consent document,      21
    16     Carmel, IN 46032                                                           Eskenazi_000003 through 16
           317 363 3232                                                   16
    17     kmetzger@mccarter com                                             Exhibit 11 - WPATH Standards of Care,         24
    18                                                                    17          Eskenazi_000017 through 49
    19 ALSO PRESENT:                                                      18 Exhibit 12 - Endocrine Society treatment    25
    20     Zef Cota, concierge tech                                                   clinical practice guideline,
                                                                          19          Eskenazi_000052 through 86
           Julie Conrad, general counsel for Eskenazi
                                                                          20 Exhibit 13 - Support Groups document,        28
    21     Harper Seldin, counsel for plaintiff
                                                                                      Eskenazi_000050 and 51
           Melinda Holmes, counsel for defendant                          21
    22     Gavin Rose, counsel for plaintiff                              22
    23                                                                    23
    24                                                                    24
    25                                                                    25

                                                                 Page 3                                                                              Page 5
     1          INDEX OF EXAMINATION                                       1 (Time noted: 12:39 p.m.)
     2                             Page                                    2            JANINE M. FOGEL, MD,
     3 DIRECT EXAMINATION . . . . . . . . . . . . . . . . . 5              3 having been duly sworn to tell the truth, the whole
       Questions by Thomas M. Fisher                                       4 truth, and nothing but the truth relating to said
     4                                                                     5 matter, was examined and testified as follows:
       CROSS-EXAMINATION . . . . . . . . . . . . . . . . . .44
                                                                           6
     5 Questions by Kenneth J. Falk
                                                                           7 DIRECT EXAMINATION,
     6
     7                                                                     8 QUESTIONS BY THOMAS M. FISHER:
     8                                                                     9 Q Dr. Fogel, good afternoon. My name is Tom
     9                                                                    10 Fisher. I am a lawyer at the Attorney General's
    10                                                                    11 Office and I'll be taking the deposition of
    11                                                                    12 Eskenazi today. And as I understand it, you're
    12                                                                    13 the designated witness for Eskenazi today.
    13                                                                    14       Is that generally your understanding, what
    14                                                                    15 we're doing?
    15                                                                    16 A Yes.
    16                                                                    17 Q I hope not to take too long. We do have some
    17
                                                                          18 questions to get through. We are going to start
    18
                                                                          19 off by looking at some documents that have been
    19
    20                                                                    20 produce in this case.
    21                                                                    21       So just make sure that we are all on the
    22                                                                    22 same page as to what this case is, let's mark as
    23                                                                    23 Exhibit 1, the complaint in this case. If I can
    24                                                                    24 show that on the witness?
    25                                                                    25       THE CONCIERGE: I'm introducing it. Please

                                                                                                                                            2 (Pages 2 - 5)
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                                                   Page 6                                                 Page 8
     1 just give me a moment. Okay. I am now                 1 questions today?
     2 introducing Exhibit 1.                                2 A No.
     3     (Deposition Exhibit 1 marked for                  3 Q Other than meeting with your attorney, did you
     4 identification.)                                      4 do anything else to prepare for today's
     5 Q Dr. Fogel, have you seen this document before?      5 deposition?
     6 Does it look familiar?                                6 A I read the documents that I was provided with.
     7     MR. FISHER: You can scroll, maybe, for the        7 Q Did you speak to anyone else about today's
     8 doctor to be able to read it.                         8 testimony?
     9 A Yes, okay.                                          9 A No.
    10 Q Are you familiar with this document?               10 Q Are you being compensated for your testimony?
    11 A Yes.                                               11 A No.
    12 Q What is your understanding of this document?       12 Q Other than Ms. Metzger, is there anyone else in
    13 A My understanding is that the families of the       13 the room with you?
    14 minors in this complaint are a little bit            14 A Yes, Julie Conrad.
    15 nervous to paraphrase. They are objecting to         15 Q Now Ms. Conrad, as I understand it, is general
    16 the passing of the bill or the law that prevents     16 counsel for Eskenazi; is that right?
    17 the medical care of transgender children and         17 A That's correct.
    18 adolescents under the age of 18.                     18 Q Is anyone else in the room?
    19 Q Just so we're clear, we all understand, this is    19 A No.
    20 the complaint in the lawsuit where you have been     20 Q Do you have any documents open in front of you?
    21 called to testify in today's deposition;             21 A No.
    22 correct?                                             22      MR. FISHER: Okay. Now let's proceed to
    23 A That's correct.                                    23 Exhibit 2, which is Senate Enrolled Act 480.
    24 Q Have you given a deposition before, doctor?        24      THE CONCIERGE: I am now introducing
    25 A One time, a couple of decades ago.                 25 Exhibit 2.
                                                   Page 7                                                 Page 9
     1 Q Doctor, if I could ask you to adjust your           1     MR. FISHER: Make that just a little bit
     2 screen; your camera is cutting off half your          2 bigger for the doctor.
     3 face. There you go.                                   3     THE CONCIERGE: Sure.
     4 A Sorry. I can't read the document and have --        4     (Deposition Exhibit 2 marked for
     5 anyway. It's fine.                                    5 identification.)
     6 Q We'll try to adjust the document as we need to      6 BY MR. FISHER
     7 but thank you.                                        7 Q Doctor, have you seen this document before?
     8    MR. FISHER: We're done with the document           8 A I don't remember.
     9 for now. We can take that off and then that,          9 Q I'm going to represent to you that this is
    10 perhaps, will be less distracting.                   10 Senate Enrolled Act 480. This is the law that
    11 Q You have been through a deposition before.         11 is being challenged in this lawsuit, which --
    12 Let's just recap, sort of, what's going to           12     (Audio distortion.)
    13 happen.                                              13     (Discussion re: technical difficulties.)
    14    I'm going to ask you some questions. The          14     MR. FISHER: We'll pick up from there.
    15 court reporter is going to record everything.        15 Q I'm wondering if you have a general familiarity
    16 Obviously, you need to answer with the truth.        16 with the contents of this statute?
    17    I am going to assume you understand my            17 A I do.
    18 questions unless you tell me you don't, but if       18 Q And what do you understand this statute to do?
    19 you don't, please speak up, let me know right        19     MS. METZGER: Excuse me, Tom, I'm going to
    20 away; we'll get some clarity. We need verbal         20 object. This is not a topic of examination that
    21 answers, not gestures.                               21 we received on our attachment with the subpoena.
    22    Is there any reason you can't understand my       22 I'm not sure what you plan on asking the doctor,
    23 questions today?                                     23 but she's not prepared to testify about the
    24 A No.                                                24 substance on behalf of Eskenazi because that was
    25 Q Any reason you can't respond truthfully to my      25 not requested of her.

                                                                                                3 (Pages 6 - 9)
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                                                   Page 10                                                  Page 12
     1 Q That's fine. Doctor, do you have an                  1 A Okay, yes.
     2 understanding of what's embodied by Senate             2     MR. FISHER: So let's mark the next one,
     3 Enrolled Act 480?                                      3 which is the attachment, Exhibit 4.
     4     MS. METZGER: Excuse me one more time,              4     THE CONCIERGE: Hold on. I've introduced
     5 Mr. Fisher. Are you asking the doctor in her           5 Exhibit 4.
     6 personal capacity, or in her capacity as a             6     (Deposition Exhibit 4 marked for
     7 representative of Eskenazi?                            7 identification.)
     8     MR. FISHER: In her capacity as a                   8 BY MR. FISHER
     9 representative of Eskenazi.                            9 Q Doctor, does this document look familiar to you?
    10     MS. METZGER: I'll continue to object based        10 A Yes, I think so.
    11 on the fact that this was not an area of              11     MS. METZGER: That's the list of topics
    12 examination that was designated to us.                12 that we were asked to testify.
    13     MR. FISHER: Are you instructing the               13     THE WITNESS: Yes, then, yes.
    14 witness not to answer?                                14 BY MR. FISHER
    15     MS. METZGER: It's not been designated as a        15 Q So this is the list of topics that you have been
    16 topic for examination. So she's not prepared to       16 subpoenaed -- or Eskenazi has been subpoena to
    17 answer. Certainly not on behalf of Eskenazi.          17 testify on today.
    18     MR. FISHER: Fair enough. Let's go to              18     And you have read this list of topics?
    19 Exhibit 3. This is subpoena to testify at a           19 A Yes.
    20 deposition in a civil action.                         20 Q Are you prepared to testify on each of these
    21     THE CONCIERGE: Mr. Fisher, is it listed as        21 topics?
    22 the amended deposition subpoena 30(b)(6)              22 A Most of the topics. There was some questions
    23 attachment?                                           23 about numbers and data and statistics that were
    24     MR. FISHER: No. It just says subpoena to          24 easily available, which I don't have. That's
    25 testify at a deposition in a civil action Health      25 not something in the normal course of my
                                                   Page 11                                                  Page 13
     1 and Hospital Corporation of Marion County d/b/a        1 practice that I have that information.
     2 Eskenazi Health.                                       2 Q Other than those aggregate numbers, is there
     3     THE CONCIERGE: There's a document listed           3 anything else that you're not prepared to
     4 documents subpoena and document subpoena               4 testify about?
     5 attachment.                                            5     MS. METZGER: You were asked to testify
     6     MR. FISHER: The subpoena first then we'll          6 about the medical record of A.M.
     7 do the attachment.                                     7 A Oh, yes. That I'm not prepared to testify about
     8     THE CONCIERGE: Okay. Please standby.               8 'cause I have never met that patient.
     9     (Deposition Exhibit 3 marked for                   9     MR. FISHER: Well, this goes back to, I
    10 identification.)                                      10 guess, the earlier conversation. I thought we
    11 BY MR. FISHER                                         11 were having a witness that was going to be
    12 Q Doctor, are you familiar with this document         12 prepared to testify for Eskenazi on each of
    13 that's been marked as Exhibit 3?                      13 these subjects?
    14 A Honestly, I don't know.                             14     MS. METZGER: The data and statistics that
    15     MS. METZGER: It's her deposition subpoena,        15 are the ones at the end, are not documents that
    16 doctor, and we've provided you that along with        16 are kept in the ordinary course of Eskenazi's
    17 the list of topics that were designated for your      17 business -- or statistics that are kept in the
    18 deposition.                                           18 ordinary course of Eskenazi's. So she would
    19 A Okay. So then I'll say, yes, I've seen it.          19 have no means to testify to that.
    20 Q All right.                                          20     And as to the medical records, the patient
    21 A I'm not -- you know, there's just a lot of legal    21 was seen at Midtown Mental Health. She was not
    22 language that, you know, a lot of it just kind        22 able to be seen Gender Health Clinic because of
    23 of -- it all looks the same after awhile.             23 her age. We know the name of the person that
    24 Q Understood. I'm just asking you to identify it.     24 treated her at Midtown, and that person would be
    25 But your testimony is you've seen it?                 25 the best one to testify as to the substance of

                                                                                               4 (Pages 10 - 13)
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                                                   Page 14                                                Page 16
     1 her medical records.                                   1 BY MR. FISHER
     2     MR. FISHER: Separately, we may have to set         2 Q Doctor, this is the list of topics just to
     3 up a separate deposition for that, for that            3 clarify you. This is the document we thought we
     4 person.                                                4 were talking about earlier that lists the topics
     5     MS. METZGER: We'll cooperate with that.            5 for today's testimony.
     6     MR. FISHER: Terrific. Thank you.                   6     Is that your understanding?
     7 BY MR. FISHER                                          7 A Yes.
     8 Q Anything else that you are not prepared to           8 Q Let's mark as Exhibit 7 the amended non-party
     9 testify about?                                         9 health and hospital corporation's response that
    10 A No.                                                 10 came in -- one of the ones that was just
    11     MS. HOLMES: I think I have noticed an             11 uploaded earlier today.
    12 error in the exhibits that have been published        12     THE CONCIERGE: Mr. Fisher, is that part of
    13 to the screen. It looks like the documents            13 the attachment that was sent by your assistant?
    14 subpoena and the document subpoena attachment         14     MR. FISHER: Yes.
    15 were shown, and not the deposition subpoena and       15     THE CONCIERGE: Is it listed as Eskenazi
    16 the 30(B)(6) subpoena attachment.                     16 Health's Amended Response?
    17     MR. FISHER: Thank you, Melinda. Let's go          17     MR. FISHER: Yes.
    18 ahead and pull up -- we'll just keep those as         18     THE CONCIERGE: Please standby. Exhibit 7
    19 marked. We'll mark Exhibit 5 the 30(B)(6)             19 is now on the screen.
    20 subpoena and attachment.                              20     (Deposition Exhibit 7 marked for
    21     THE CONCIERGE: I'm pulling that up. This          21 identification.)
    22 is Exhibit 5.                                         22 BY MR. FISHER
    23     MR. FISHER: And then there should be a            23 Q Doctor, are you familiar with this document?
    24 subpoena as well, that was the cover for that         24 A I don't think so.
    25 attachment.                                           25 Q Doctor, what is your role at Eskenazi?
                                                   Page 15                                                Page 17
     1     THE CONCIERGE: Is that on a separate           1 A I'm the medical director of the Gender Health
     2 document? Or do you want me to scroll down?        2  Program. I'm also a family physician.
     3     MR. FISHER: No, it you should be a             3 Q And how long have you been employed at Eskenazi?
     4 separate document.                                 4 A Since 1996. So 27 years. That's a long time.
     5     THE CONCIERGE: Is that listed as the           5 Q What is your employment history at Eskenazi?
     6 subpoena, amended deposition subpoena?             6 A So I started out working in the urgent care
     7     MR. FISHER: Yes, probably.                     7  center. That lasted for about a year.
     8     THE CONCIERGE: Will that be Exhibit 5?         8     Then I worked at one of the Community
     9     MR. FISHER: Yeah, let's make that              9  Health Center sites. I also worked for IU, and
    10 Exhibit 5 please.                                 10  then back to Eskenazi, maybe, 15 years ago. But
    11     THE CONCIERGE: Exhibit 5 is now on the        11  I have always worked intermittently for them.
    12 screen.                                           12     In about 2016, I started the Gender Health
    13     (Deposition Exhibit 5 marked for              13  Program at Eskenazi. Now that is all I do.
    14 identification.)                                  14 Q What do your responsibilities include in that
    15 BY MR. FISHER                                     15  role?
    16 Q Doctor, I think this is the subpoena to testify 16 A Patient care, and some administrative duties,
    17 at deposition that we intended to mark earlier.   17  programmatic duties, educational. I teach
    18 Just to confirm, that's your understanding of     18  residents at IU School of Medicine. So we have
    19 what this is?                                     19  a LGBTQ health track; so I supervise four
    20 A Yes.                                            20  residents. So those are my main duties.
    21     MR. FISHER: Let's mark as Exhibit 6 the       21 Q I want to make sure I understood. You said an
    22 attachment.                                       22  "LGBTQ health track"?
    23     THE CONCIERGE: Exhibit 6 is on the screen. 23 A Yes.
    24     (Deposition Exhibit 6 marked for              24 Q What does that mean?
    25 identification.)                                  25 A So we educate family medicine residents in

                                                                                              5 (Pages 14 - 17)
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                                                    Page 18                                               Page 20
     1 caring for gender diverse patients.                1 A I don't know. I can't answer that. I'm not
     2      MR. FISHER: We should be ready now for        2 sure.
     3 Exhibit 8, which is the Eskenazi Health Gender     3 Q Is there a document -- is there a document --
     4 Health Program. It looks like a brochure. It       4 oh, go ahead.
     5 should be two pages.                               5      (Audio distortion.)
     6      THE CONCIERGE: I'm introducing Exhibit 8 6 A No, I think it's just a fairly new document.
     7 on the screen.                                     7 And they usually get sent out -- well, maybe
     8      (Deposition Exhibit 8 marked for              8 not.
     9 identification.)                                   9      You know, I think I just never seen it
    10 BY MR. FISHER                                     10 before. Documents like this get sent out
    11 Q Doctor, do you recognize this document? And     11 periodically. Sometimes we read them.
    12 then maybe we could scroll for the doctor to the  12 Sometimes we don't. Sometimes they get missed,
    13 second page?                                      13 but it look accurate to me.
    14 A I do.                                           14 Q I'm just sort of curious what function this
    15 Q What is this document?                          15 document plays or a document like it would play
    16 A It's a brochure regarding our program.          16 at the Gender Health Program?
    17 Q When was this created?                          17 A I think it just outlines the services we
    18 A 2017 probably.                                  18 provide.
    19 Q Is it currently used by the Gender Health       19 Q Who is the intended audience for it?
    20 Program?                                          20 A Other physicians. People that work for
    21 A Yes.                                            21 Eskenazi.
    22 Q Do you know who created it?                     22 Q Do they use it as some sort of practice guide?
    23 A It would have been myself and the PR department 23 A Yeah. I mean, there are polices at Eskenazi
    24 at Eskenazi.                                      24 about all topics. And this is just one of them.
    25      MR. FISHER: Let's mark Exhibit 9, Gender     25 And I suppose you could consider it that.
                                                    Page 19                                               Page 21
     1 Health Program Scope of services.                       1 Q But is it more appropriately understood to be a
     2      THE CONCIERGE: Exhibit 9 is now on the             2 policy document?
     3 screen.                                                 3 A Yes, I would say so.
     4      (Deposition Exhibit 9 marked for                   4 Q Let's go ahead and mark Exhibit 10, which says
     5 identification.)                                        5 "Eskenazi Health Welcomes All."
     6 BY MR. FISHER                                           6     MS. METZGER: Are we on Eskenazi 3 through
     7 Q Doctor, do you recognize this document?               7 16?
     8      MS. METZGER: Mr. Fisher, I have a hard             8     MR. FISHER: Yes, that's right.
     9 copy here of the document. Would you mind if I          9     MS. METZGER: May I give the doctor a hard
    10 let the doctor look at that? It might be a             10 copy? This is the informed consent packet.
    11 little easier for her to see.                          11     MR. FISHER: Yes, of course.
    12      MR. FISHER: Yes, please do.                       12     THE WITNESS: This I'm familiar with.
    13      MS. METZGER: I just gave her Eskenazi 87          13     MR. FISHER: Zef, do we have the --
    14 through 91.                                            14     THE CONCIERGE: Yes, I'm bringing it up
    15 A So I have not seen the final version of this; so     15 right now.
    16 I'm reading it. Do you want me to continue             16     (Deposition Exhibit 10 marked for
    17 reading it or -- but so far it all looks               17 identification.)
    18 accurate.                                              18 BY MR. FISHER
    19 BY MR. FISHER                                          19 Q Okay. Doctor, I believe you have the full
    20 Q I guess I'm wondering what it is?                    20 document in front of you. The first page is on
    21 A It looks like it's a description of our program.     21 the screen. And did you say you are familiar
    22 Q So this is a document that was provided to us in     22 with this document?
    23 response to our document subpoena. And I'm             23 A Yes, I am.
    24 curious, are you suggesting this document is a         24 Q What is this document?
    25 draft document of some kind?                           25 A This is a document we use when we're talking to

                                                                                               6 (Pages 18 - 21)
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                                                    Page 22                                                 Page 24
     1 new patients. It's in a new patient packet of           1 with the doctor if that's something you have.
     2 material that we hand out to all new patients.          2      MS. METZGER: I do. And this is Eskenazi
     3 And it goes through -- the one that I have in           3 17 through --
     4 front of me is -- and the one that I -- well, I         4      MR. FISHER: Yeah, through 49.
     5 can't tell, but we have one that's specific for         5      MS. METZGER: -- through 49, yeah.
     6 feminizing hormone therapy and one that's               6      THE WITNESS: This is 7 or 8?
     7 specific for masculinizing hormone therapy. And         7      MR. FISHER: Number 11. Exhibit 11.
     8 it talks about each type of hormone therapy and         8      THE WITNESS: Standards of care. It's
     9 the risks and the benefits of each kind,                9 SOC7.
    10 respectively.                                          10      THE CONCIERGE: Exhibit 11 is now on the
    11     So that's something that we verbally go            11 screen.
    12 through with each patient as they're a new             12      (Deposition Exhibit 11 marked for
    13 patient, or anytime a patient is interested in         13 identification.)
    14 starting gender-affirming hormones, to make sure       14 BY MR. FISHER
    15 that they understand the risks and the benefits.       15 Q Doctor, are you familiar with this document?
    16 Q Is this a document that the patients would sign      16 A Yes.
    17 after you go through it with them?                     17 Q What is this document?
    18 A All the patients that we see that are less than      18 A It is the WPATH Standards of Care Version 7.
    19 18, we have the patient and the parent or              19 Q Is this the standards of care that Eskenazi
    20 guardian sign the document after we have               20 follows in the Gender Health Program?
    21 reviewed it and they have read it.                     21 A It's one of them.
    22     For patients that are older than 18, we go         22      MR. FISHER: Let's go ahead and mark
    23 through it with them but we don't require them         23 Exhibit 12. And this is the Endocrine
    24 to sign it.                                            24 Society: Endocrine Treatment of
    25 Q Does a copy of it go into the patient's medical      25 Gender-Dysphoric.
                                                    Page 23                                                 Page 25
     1  records regardless?                                    1     Kim, this is Eskenazi 52 through 86. Feel
     2 A A copy goes home with the patient.                    2 free to share the full copy with the doctor.
     3 Q You don't keep a signed informed consent              3     MS. METZGER: I've given a copy to the
     4  document in the medical file for the patient?          4 doctor.
     5 A Only for the patients that are under 18 because       5     (Deposition Exhibit 12 marked for
     6  they actually sign it. The patients that take          6 identification.)
     7  it home, we don't require them to sign it.             7 A This is another document that we also use.
     8      We provide the information, we go over it          8 Guidelines that we use in practice.
     9  with them verbally in clinic at their                  9 BY MR. FISHER
    10  appointment; and then we get their verbal             10 Q So are there any other standards of care or
    11  informed consent.                                     11 guidelines that you use in practice besides the
    12 Q Were you involved in the creation of this            12 WPATH standards and the Endocrine Society
    13  document?                                             13 standards?
    14 A Yes.                                                 14 A Yes, there are a number of well-regarded gender
    15 Q Do you know when it was created?                     15 health programs around the country, and so we do
    16 A It would have been probably 2016, 2017, you          16 use their guidelines as well.
    17  know, earlier on at the beginning of my               17     UCSF San Francisco has a very robust
    18  practice.                                             18 transgender program, and so we use their
    19 Q And it's up to date?                                 19 guidelines. And we also use the guidelines that
    20 A Yes.                                                 20 have been put out by Fenway Health in Boston.
    21 Q This is the document you currently use?              21 Q Any others?
    22 A It is.                                               22 A On occasion, but those are the four that we
    23      MR. FISHER: Let's go mark the next                23 mainly use.
    24  Exhibit 11. This is the WPATH Standards of            24 Q Are those guidelines ever inconsistent with one
    25  Care. And feel free to share the full document        25 another?

                                                                                                7 (Pages 22 - 25)
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                                                   Page 26                                                 Page 28
     1 A Sometimes there are small inconstancies, mainly 1 chapters in 8 that are not in 7. So that's the
     2 around maximum dosing of various hormones.          2  other difference.
     3 Q How do you decide -- when there's those sorts of 3 Q Anything with respect to the treatment of minors
     4 inconstancy -- which guidelines to follow?          4  that's different?
     5 A Mostly it depends on the patient.                 5 A I don't know. I'd have to go back and read them
     6 Q Why follow, roughly, four different sets of       6  again, the two chapters, side by side.
     7 guidelines plus maybe a few others here and         7 Q Just for sake of completeness, let's mark
     8 there?                                              8  Exhibit 13. Says "Support Groups," at the top.
     9 A Well, 'cause I think there's no one set of        9  Two-page document.
    10 guidelines that can cover everything. And I        10     THE CONCIERGE: Hold on. Exhibit 13 is now
    11 think it's good to get opinions of different       11  on the screen.
    12 experts in the field and then look at the          12     (Deposition Exhibit 13 marked for
    13 patient in front of you and think about how it     13  identification.)
    14 might apply to those patients and which one        14 BY MR. FISHER
    15 seems to be the most accurate. Mostly the          15 Q Doctor, do you recognize this document?
    16 guidelines are pretty well aligned.                16 A Yes.
    17    You also have different sets of                 17 Q What is this document?
    18 information. So the UCSF guidelines and WPATH 18 A This is a document that we provide to patients
    19 are very broad and all encompassing. And they      19  regarding support groups or organizations that
    20 cover a lot more information than just dosing of   20  can provide support.
    21 hormones and management of hormones; whereas, 21 Q And were you involved in putting this document
    22 the guidelines from Fenway and Endocrine Society 22 together?
    23 are a little more concise and focus more on the    23 A I was.
    24 management of gender-affirming hormones.           24 Q When was it created?
    25 Q My understanding is that WPATH has a Version 8 25 A Well, it's an ongoing changing document. We
                                                   Page 27                                                 Page 29
     1 that's out.                                         1  would have started compiling a list of
     2 A That's correct.                                   2  affirming, supportive places that patients could
     3 Q But you use Version 7?                            3  go for mental health support. We would have
     4 A We do. Primarily because insurance companies      4  started compiling that list in 2017, and we
     5 are still using Version 7, and I think Version 8    5  continually add to it as we learn of new places.
     6 has a more expanded list of chapters. So there      6 Q Okay. We have identified all of these exhibit,
     7 are certain things where I would go to Version 8    7  and now I want to talk to you, generally, about
     8 if I needed more information.                       8  the Gender Health Program.
     9 Q Are there any differences in terms of materially  9      What gender transition procedures does
    10 different -- I guess maybe a way to put it --      10  Eskenazi provide?
    11 materially different standards of care from        11 A Can you be more specific by what you mean by
    12 Version 7 to Version 8?                            12  gender transition procedures? It's not a term
    13 A The difference that I noted most were in, for    13  we generally use.
    14 example, requirements for surgery.                 14 Q What term do you usually use?
    15     So currently, in Version 7, for different      15 A It depends on what I'm talking about: if I'm
    16 types of gender-affirming surgeries, you need      16  talking about medical transition, social
    17 different numbers of letters for medical           17  transition, legal transition, surgical
    18 providers and mental health providers. And         18  transition.
    19 those are slightly different in Version 8.         19 Q Let's start with medical transition. What do
    20 Q Which version on that subject do you follow?     20  you provide for medical transition?
    21 A So we're currently following 7 because insurance 21 A So it's patient-dependent. Some patients desire
    22 companies are following 7.                         22  to be on gender-affirming hormone therapy, and
    23 Q Any other differences between 7 and 8 that you   23  so we do provide that. So that's what we do for
    24 know of?                                           24  medical transition.
    25 A Well, as I mentioned, there are a number of new 25 Q And what about surgical transition?

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                                                     Page 30                                                 Page 32
      1 A We do have a gender-affirming surgery program         1 A We do not.
      2 that is -- it's not -- we're sort of                    2 Q What about surgical transition, do you provide
      3 complimentary to each other. We have a plastic          3 surgical transition to minors?
      4 surgeon who does affirming top surgeries. We            4 A We do not.
      5 have a urologist who does a variety of bottom           5 Q Why don't you provide medical transition to
      6 surgeries, and we have a facial plastic surgeon         6 minors under 16?
      7 who does facial procedures.                             7 A That's just my comfort level. My preference. I
      8 Q Just so we're clear, what do you mean by top          8 just decided that. When I started this program,
      9 surgery?                                                9 there was -- you know, there are other programs
     10 A Chest reconstruction or masculinization and          10 that do a great job providing services to
     11 breast augmentation.                                   11 younger adolescents and children. And so I just
     12 Q So masculinization, is that the same things as a     12 decided that that's what I wanted to do because
     13 mastectomy?                                            13 that's what I felt comfortable doing.
     14 A It's similar but it is a more complete procedure     14 Q Felt comfortable in what way?
     15 that contours the chest so that it looks like a        15 A You know, I had to learn because I didn't learn
     16 masculine chest. And it usually involves               16 any of this in medical school. So I had to
     17 repositioning the nipples and reshaping the            17 learn how to do gender-affirming care on my own.
     18 nipples to look more masculine.                        18 And it was a lot to learn. It took me 9 to 12
     19 Q What is bottom surgery?                              19 months to learn as much as I could to feel
     20 A Bottom surgeries refers to genital surgeries.        20 comfortable providing care. And that was more
     21 And it can be feminizing or masculinizing.             21 learning that I just, at the time, just, didn't
     22      The feminizing surgeries would include an         22 feel like I had the capacity to do.
     23 orchiectomy, which is the removal of testes. Or        23 Q Why 16? Why is that, sort of, the magic number
     24 it could be vaginoplasty, which is removal of          24 for you?
     25 the penis and testes and the creation of a             25 A I mean it's just a -- postpubertal is a better
                                                     Page 31                                                 Page 33
      1 neovagina. And it can be a full-depth                   1 description. I mean, most of our patients are
      2 vaginoplasty, which creates an opening that             2 over 16. But I wanted to make sure our patients
      3 usually is somewhere about 4 inches deep so that        3 were postpubertal, that they wouldn't need
      4 the person can have penetrative frontal sex. Or         4 puberty blockers 'cause that really wasn't
      5 it can be what's called zero depth vaginoplasty,        5 something at the time I felt like I wanted to
      6 or vulvoplasty, which is the creation of the            6 learn how to do.
      7 appearance of external female genitalia, but            7 Q I see. So the need for puberty blockers versus
      8 there's no depth to the -- there's no vagina            8 hormone therapy is sort of the -- that's the
      9 that has any depth.                                     9 cutoff really for you and you implement that in
     10     There are also some masculinizing                  10 a way?
     11 procedures that our surgeons can do. The               11 A Yes.
     12 masculinizing procedures include something             12 Q Do you have other doctors in your practice?
     13 called a metoidioplasty, which is the                  13 A We do, yes.
     14 lengthening and release of the clitoris to form        14 Q And do any of them provide puberty blockers or
     15 a microphallus. And there's also phalloplasty,         15 treat minors for gender dysphoria below the age
     16 which is the creation of a neopenis.                   16 of 16?
     17 Q So let's go back to the medical transition for a     17 A No.
     18 second.                                                18 Q Are any of them trained to do that?
     19     Do you provide medical transition services         19 A I mean, I would say there's not really any
     20 to minors?                                             20 specific training. I think you need to just
     21 A We do provide medical transition to patients         21 educate yourself. And it's not -- you know, if
     22 that are over the age of 16 that are                   22 somebody wanted to do it, they could. They just
     23 postpubertal.                                          23 would need -- I would recommend going to
     24 Q Do you ever provide what I think many people         24 conferences and learning about it just like I
     25 refer to as puberty blockers?                          25 learned about how to do -- provide medical care

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                                                    Page 34                                                   Page 36
      1 for gender diverse people. So you could do it.         1  would be the child that is graduating high
      2 We've just chosen not to.                              2  school and is wanting to go to college and wants
      3 Q Well, so as far as you're aware, none of the         3  to live in their affirmed gender at college in a
      4 physicians in the Gender Health Program have           4  dorm, for example. So for that patient, if
      5 learned about treating minors below the age of         5  their maturity level is such that they can
      6 16 for gender dysphoria?                               6  provide informed consent, if the parent provides
      7 A Correct.                                             7  informed consent, that would be the type of
      8 Q And if one of them came to you and expressed a       8  patient where I would think it would be possibly
      9 desire to do that with an eye towards developing       9  a good idea to do surgery even though they may
     10 that practice at Eskenazi, what would your            10  not be 18. But it's specific cases like that.
     11 reaction be?                                          11  It's not going to be a blanket statement.
     12 A We would have to have a conversation. My first      12 Q I'm curious, how does the timing of going off to
     13 inclination would be, no, because our clinic is       13  college affect your judgment about the
     14 situated in an adult medicine area. And so            14  appropriateness?
     15 we're just not -- you know, we're not -- our          15 A As I said, you know, if somebody is in high
     16 nurses are not equipped to treat children. We         16  school and they have not been able to present in
     17 don't have the infrastructure right now and the       17  the way they feel affirmed and then going off to
     18 support that families would need. So I think I        18  college -- where people don't know them, where
     19 would say, no.                                        19  they might be able to change their name and
     20 Q Okay. So what about surgical transition; I          20  gender marker and present in a way that feels
     21 think if I remember correctly you said you do         21  comfortable -- having that surgery completed
     22 not provide any surgical transition procedures        22  before they get there would be very affirming to
     23 to minors?                                            23  them and would allow them to live in their
     24 A Correct.                                            24  affirmed gender.
     25 Q Why not?                                            25 Q If that patient before going off to college said
                                                    Page 35                                                   Page 37
      1 A Well, because the guidelines state -- you know,      1 "Notwithstanding that I haven't been able to
      2  the WPATH guidelines, the SOC7 are pretty             2 live in my affirmed gender the way that I would
      3  clear -- they don't recommend surgeries,              3 like, I want to go ahead and do the surgery
      4  particularly bottom surgeries, for people below       4 now," would you be prepared to go forward with
      5  the age of 18.                                        5 that?
      6 Q My understanding is that SOC8 eliminates that        6      MS. METZGER: I'm going to object to
      7  age barrier. Is that your understanding?              7 incomplete hypothetical.
      8 A I'd have to go and review that 'cause I don't        8      Doctor, if you can answer that question, go
      9  know at this point whether that is correct or         9 ahead.
     10  not.                                                 10 A Again, I think it's just patient specific. It
     11 Q If that were correct, would that change your, I     11 would definitely need a lot of -- really, you
     12  guess, your policy or your opinion about             12 know, a lot of conversation with the patient,
     13  offering surgeries to minors?                        13 the family, surgeon.
     14      MS. METZGER: I'm going to object. That's         14 Q What kinds of information would you be looking
     15  an incomplete hypothetical.                          15 for in those conversations?
     16      Doctor, if you can answer that question, go      16 A I think it's going to be the support, pre and
     17  ahead.                                               17 postoperatively. Physically, some surgeries can
     18 A Yeah. So I think that it's patient specific; I      18 be very challenging and a lot of support would
     19  don't think I would make any broad statements        19 be needed. More so for bottom surgery than for
     20  about providing surgeries to minors. There are       20 top surgery.
     21  some circumstances where I think it would be         21      You know there's logistics, like: are you
     22  beneficial to someone to have a surgery, an          22 able to take this much time off school? Is your
     23  affirming surgery.                                   23 parent or guardian able to take that much time
     24      The one -- the instance that comes to mind       24 off work? Do you understand that this is an
     25  for both top surgeries and bottom surgeries          25 irreversible procedure for the most part? We

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                                                      Page 38                                                  Page 40
      1  would have conversations about fertility. So            1  of hormones or will guide us to use a specific
      2  there's a lot that goes into it.                        2  formulation or type of hormone. So for those
      3 Q Okay. Bear with me a second. I think we're             3  patients, we'll wait.
      4  pretty close to being done. Give me a minute.           4     The other reason we will wait is if someone
      5      For medical transition for the minors that          5  wants to complete fertility preservation. Then
      6  you do treat in that, roughly, 16 to 18 age             6  we always wait until after that's been completed
      7  range, are you aware of whether you see more            7  before we start gender-affirming hormones.
      8  male to female, or female to male transitions?          8 Q Any circumstances besides those? I guess, I
      9 A It's probably evenly split. Yeah, I think it's         9  counted three: uncertainty, contraindication,
     10  pretty close to even.                                  10  or fertility preservation?
     11 Q Has that ratio changed at all over time since         11     Any other circumstances where you would
     12  you founded the program?                               12  say, "No, we're not going to prescribe
     13 A I don't think so.                                     13  hormones"?
     14 Q Are there any circumstances where you have a          14 A If there is a mental health, you know,
     15  patient that's a minor with gender dysphoria who       15  significant mental health comorbidity where we
     16  is looking to be prescribed hormones but you           16  feel they couldn't consent to any kind of
     17  would refuse to prescribe those hormones?              17  treatment for anything. You know, they have to
     18      MS. METZGER: Tom, when you say minor, are          18  be able to understand the consent form and
     19  you talking about children, or adolescents 16 to       19  consent to hormones before they will get a
     20  18?                                                    20  prescription.
     21 Q I'm talking 16 to 18.                                 21      Cognitive impairment. I had a patient who
     22 A Yeah, there are circumstance. So sometimes we         22  has a history of traumatica brain injury. And
     23  have patients -- and this really refers to             23  after meeting with the patient myself, they met
     24  patients of all ages; it's not specific to             24  with the mental health provider, I wasn't sure
     25  minors.                                                25  that they were cognitively able to understand
                                                      Page 39                                                  Page 41
      1       Some patients are unsure whether they want         1 the information I was providing to them. So it
      2   to start hormones and they are just exploring          2 took several visits. We worked with -- we have
      3   their gender identity; so we talk through that.        3 occupational therapist who they worked with to
      4   And if they are not ready, we would encourage          4 get this patient to the point where I felt that
      5   them to do more exploration before starting            5 they could provide an informed consent. And
      6   gender-affirming hormones. Hormone are not the         6 they were able to start gender-affirming
      7   answer for everybody. Most of our patients do          7 hormones.
      8   want to be on hormones but certainly not all of        8 Q So sounds like you distinguished a little bit,
      9   our patients. So for some patients, we take it         9 at least, between mental health and cognitive
     10   slow. We let them guide us.                           10 impairment -- which, that's great, fine -- but
     11       And there are some medical indications            11 are those standards any different for treating
     12   where I've asked patients to do some more             12 gender dysphoria with hormones versus any other
     13   medical testing before starting hormones. The         13 medical context?
     14   thing that comes to mind is breast cancer risk.       14 A No. I think you would apply the same standards
     15   So if a patient comes to me, a transfeminine          15 to any medication.
     16   patient comes to me and says "I'd like to start       16 Q Okay. Then fertility preservation. Tell me
     17   estradiol but I have a family history of BRCA         17 about that.
     18   mutation" -- or a gene mutation that increases        18 A We, before a patient starts gender-affirming
     19   their risk of breast cancer -- "I have this in        19 hormone therapy, we always discuss fertility
     20   my family," I'll send them to a medical               20 preservation as an option for them. If they're
     21   geneticist for genetic testing before I start         21 interested in that, we can provide them with
     22   them on gender-affirming hormones.                    22 local and online resources to do that.
     23       So there are some medical conditions that         23 Q Why worry about fertility preservation?
     24   we screen for that will either preclude the           24 A Well, I think that any medication that could
     25   use -- although that's rare -- preclude the use       25 potentially interfere with fertility is

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                                                    Page 42                                                 Page 44
      1 something that you need to know about as a             1 CROSS-EXAMINATION,
      2 potential side effect. So I think it's a               2 QUESTIONS BY KENNETH J. FALK:
      3 reasonable concern to have and to raise with           3 Q Doctor, hi, I'm Ken Falk. I represent the
      4 patients.                                              4 plaintiffs in this case. I'm looking at -- I
      5 Q Specifically with respect to hormone therapy?        5 want to stick with the topics you were asked to
      6 A Correct.                                             6 talk about.
      7     MR. FISHER: We may just be just about              7    In request -- looking at production of
      8 done. Can we take five minutes and I can confer        8 documents, in Request Number 1, you were asked
      9 with my colleagues, and then we can come back?         9 to produce information concerning the services
     10     MR. FALK: That's fine. We will confer on          10 offered. And this indicates -- I just want to
     11 this end as well.                                     11 confirm; it's not signed by you -- at the
     12     (A recess was taken between 1:38 p.m. and         12 current time, you have approximately or fewer
     13 1:46 p m.)                                            13 than 20 patients aged 16 or 17 receiving
     14     MR. FISHER: Doctor, thank you very much.          14 services at the Gender Health Clinic?
     15 I don't have any additional questions. Though,        15 A That's correct.
     16 perhaps, your counsel or Mr. Falk will.               16 Q And I believe you said the majority of patients
     17     MR. FALK: I just have a couple. I don't           17 that you see who are minors are receiving
     18 know who wants to go first.                           18 gender-affirming hormones; is that correct?
     19     THE WITNESS: Can I just add one thing?            19 A Yes.
     20     MR. FISHER: Sure.                                 20 Q And, again, asking about the services and care
     21     THE WITNESS: Just to clarify. When you            21 provided -- and I don't need to know peoples'
     22 were asking me about surgery on minors; I want        22 names -- how many persons, if you can tell me by
     23 to clarify that I don't think Eskenazi should         23 job category, are providing services at the
     24 start performing surgeries, gender-affirming          24 Gender Health Clinic who are licensed through
     25 surgeries on minors.                                  25 the state of Indiana?
                                                    Page 43                                                 Page 45
      1      I was just giving you my personal take on         1 A Probably 20.
      2  why some patients -- in some patients, it might       2 Q And that includes doctors, nurses, nurse
      3  be appropriate to do a surgery when they are          3 practitioners?
      4  younger than 18. So that's not something              4 A Yes.
      5  Eskenazi has any plans to do. I want that to be       5 Q Licensed mental health professionals.
      6  really clear.                                         6 A Yes.
      7 BY MR. FISHER                                          7 Q So about 20?
      8 Q Thank you for that. Then I do have a couple of       8 A Yeah. We have a speech language pathologist,
      9  follow-ups.                                           9 pharmacist, dietitian, occupational therapists;
     10      I'm just wondering, why don't you think          10 and then all of the other providers you
     11  Eskenazi should do that?                             11 mentioned. Social workers. It might be more
     12 A I think because of the -- I don't -- because of     12 than 20.
     13  the legal climate right now, I don't think it        13 Q Give me one moment here please. And in the
     14  would be a good idea.                                14 attachment listing topics, it indicates one of
     15 Q The legal -- sorry --                               15 the topics was information provided concerning
     16 A No, the political climate. I don't think it         16 Medicaid or medical insurance and I realize
     17  would be a good idea for Eskenazi to do that.        17 that's not your department.
     18 Q I see. Anything else?                               18     I just want to ask, do you have minor
     19 A Uh-uh.                                              19 patients receiving hormones who are having those
     20      MR. FISHER: Thank you. Okay. Go ahead,           20 paid for by Medicaid?
     21  Ken, or Kim.                                         21 A I don't know.
     22      MS. METZGER: I'll save my questions for          22 Q Okay. That's fair. And I'm not sure if this
     23  after, Ken.                                          23 was before we went into the deposition or we
     24      MR. FALK: Thank you.                             24 were speaking beforehand. Just to confirm, the
     25                                                       25 Plaintiff A.M. has never received services from

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      1          DEPOSITION REVIEW                                                1            ERRATA SHEET
                CERTIFICATION OF WITNESS
      2                                                                                    VERITEXT LEGAL SOLUTIONS MIDWEST
             ASSIGNMENT REFERENCE NO: 5915536                                     2          ASSIGNMENT NO: 5915536
      3      CASE NAME: K C , Et Al v The Individual Members Of The
        Medical Licensings Board Of Indiana
                                                                                  3   PAGE/LINE(S) /    CHANGE       /REASON
             DATE OF DEPOSITION: 5/17/2023                                        4   ___________________________________________________
      4      WITNESS' NAME: Janine M Fogel , MD
                                                                                  5   ___________________________________________________
      5      In accordance with the Rules of Civil
         Procedure, I have read the entire transcript of                          6   ___________________________________________________
      6 my testimony or it has been read to me                                    7   ___________________________________________________
      7      I have made no changes to the testimony
         as transcribed by the court reporter                                     8   ___________________________________________________
      8                                                                           9   ___________________________________________________
         _______________           ________________________
      9 Date               Janine M Fogel , MD
                                                                                 10   ___________________________________________________
     10      Sworn to and subscribed before me, a                                11   ___________________________________________________
         Notary Public in and for the State and County,                          12   ___________________________________________________
     11 the referenced witness did personally appear
         and acknowledge that:                                                   13   ___________________________________________________
     12                                                                          14   ___________________________________________________
             They have read the transcript;
     13      They signed the foregoing Sworn
                                                                                 15   ___________________________________________________
                 Statement; and                                                  16   ___________________________________________________
     14      Their execution of this Statement is of
                                                                                 17   ___________________________________________________
                 their free act and deed
     15                                                                          18   ___________________________________________________
             I have affixed my name and official seal                            19
     16
         this ______ day of_____________________, 20____                            _______________      ________________________
     17                                                                          20 Date          Janine M. Fogel , MD
                 ___________________________________
                                                                                 21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
     18          Notary Public
     19          ___________________________________                             22 DAY OF ________________________, 20______ .
                 Commission Expiration Date                                      23       ___________________________________
     20
     21                                                                                   Notary Public
     22                                                                          24
     23
     24
                                                                                          ___________________________________
     25                                                                          25       Commission Expiration Date

                                                                       Page 51
      1          DEPOSITION REVIEW
                CERTIFICATION OF WITNESS
      2
             ASSIGNMENT REFERENCE NO: 5915536
      3      CASE NAME: K C , Et Al v The Individual Members Of The
        Medical Licensings Board Of Indiana
             DATE OF DEPOSITION: 5/17/2023
      4      WITNESS' NAME: Janine M Fogel , MD
      5      In accordance with the Rules of Civil
         Procedure, I have read the entire transcript of
      6 my testimony or it has been read to me
      7      I have listed my changes on the attached
         Errata Sheet, listing page and line numbers as
      8 well as the reason(s) for the change(s)
      9      I request that these changes be entered
         as part of the record of my testimony
     10
             I have executed the Errata Sheet, as well
     11 as this Certificate, and request and authorize
         that both be appended to the transcript of my
     12 testimony and be incorporated therein
     13 _______________            ________________________
         Date              Janine M Fogel , MD
     14
             Sworn to and subscribed before me, a
     15 Notary Public in and for the State and County,
         the referenced witness did personally appear
     16 and acknowledge that:
     17      They have read the transcript;
             They have listed all of their corrections
     18          in the appended Errata Sheet;
             They signed the foregoing Sworn
     19          Statement; and
             Their execution of this Statement is of
     20          their free act and deed
     21      I have affixed my name and official seal
     22 this ______ day of_____________________, 20____
     23          ___________________________________
                 Notary Public
     24
                 ___________________________________
     25          Commission Expiration Date


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   [& - accurate]                                                             Page 1

            &          18 4:11 6:18                  3             5th 2:10
    & 2:14               22:19,22 23:5       3 4:5 10:19                   6
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